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                    BEFORE THE UNITED STATES JUDICIAL PANEL
                         ON MULTIDISTRICT LITIGATION


IN RE: FTX CYPTOCURRENCY EXCHANGE
COLLAPSE LITIGATION                                                           MDL No. 3076


              Garrison v. Singh, E.D. Michigan, Case No. 23-cv-011764-LJM-KGA

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    REPLY BRIEF OF DEFENDANT JASPREET SINGH IN SUPPORT OF MOTION TO
     VACATE CONDITIONAL TRANSFER ORDER DATED AUGUST 1, 2023 (CTO-2)

       Plaintiffs’ Response in Opposition to Defendant Singh’s Motion to Vacate (ECF No. 213

(“Response”)) fails to address a single fact or legal issue cited in Defendant Singh’s Motion to

Vacate (ECF No. 208-1). Instead, the Response does nothing more than make sweeping claims

devoid of any specifics and attempt to use Plaintiffs’ own failure to keep their agreement with

the FTX MDL Court as some kind of evidence of the “just and efficient conduct” of litigation.

       Plaintiffs’ first claim is that the arguments raised by Mr. Singh in the Motion to Vacate

(“Motion”) have already been decided by the Panel in transferring an action “against similarly-

situated celebrities” in the case of Garrison v. Bankman-Fried, S.D. Fla., 1:22−23753

(“Celebrities Action”). (Response, p. 3, (citing ECF No. 138)). Procedurally, this is false

because no complaint involving Mr. Singh was at issue in that transfer order. (See ECF No. 138,

p. 5, Schedule A). Practically, this is false because Plaintiffs fail to provide any fact or argument

as to how Defendant Singh is allegedly “similarly-situated” to any of these celebrity defendants

or how the claims against him are “similarly-situated” to the claims against them (other than

their simple bald assertion). (See Response, p. 3). They do not bother to analyze the complaints,

cite any facts about any defendant, or in any way attempt to identify what the common facts


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might actually be. (Id.). Accordingly, Plaintiffs fail to even attempt to show that the transfer of

the Celebrities Action by ECF No. 138 refutes any argument in Mr. Singh’s Motion.

       Plaintiffs next cite to the fact that Mr. Singh is already participating in the FTX MDL

because he is also a defendant, along with several others, in an action filed in the Southern

District of Florida, Garrisson v. Paffrath, S. D. Fla. 23-cv-21023 (“Paffrath Action”), that was

previously transferred to the Florida MDL (In Re: FTX Cryptocurrency Exchange Collapse

Litigation, S.D. Florida, 1:23-md-03076-KMM (“FTX MDL”) (Response, pp. 1-3). Plaintiffs

further note that, because of the Paffrath Action, Mr. Singh is likewise a defendant in one of the

administrative complaints the FTX MDL Court ordered Plaintiffs to file. (Id .(citing FTX MDL

ECF No. 179)). This is a truly disingenuous argument.

       During the initial case management and scheduling conference for the FTX MDL, the

issue of personal jurisdiction was discussed because many of the defendants were disputing

personal jurisdiction in the transferred cases. (FTX MDL ECF No. 73, Transcript of June 21,

2023 Hearing (attached hereto as Exhibit C), Tr. 7:9-24, 9:15-12:13, 14: 21-15:16, 22:8-10).

Plaintiff proposed a procedure, which the court approved, in which extensive litigation over

personal jurisdiction could be avoided if each defendant would either agree to waive personal

jurisdiction or, if not, Plaintiffs would file a new complaint in the defendant’s home district.

                MR. BOIES: With respect to personal jurisdiction, we ought to be able to
       solve that in 14 days because we're going to go one of two things. Either they're
       going to waive personal jurisdiction and be in front of this Court, or we're going
       to file in whatever jurisdiction they say that they are present in, and that will come
       to this Court as a tagalong case.

                So I think all they have to do is tell us within a reasonable period of time
       which of those approaches they're going to take. And we can then immediately --
       either if they waive, there's no issue. If they say, "We want you to file in our home
       district to resolve any personal jurisdiction issue," as we've talked about with the
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        sports and entertainment defendants, in order to move this along and not burden
        the Court with unnecessary motion practice, we'll file those motions and those
        complaints, and those will be transferred here. So I think that can be done within
        the 14 days.
(Exh. A, Tr. 14:25-15:15).1 Plaintiffs stressed that this proposal would “resolve” the personal

jurisdiction issues. (Id., Tr. 7:13-19, 11:10-15, 15:7-16). This procedure was then ratified in the

FTX MDL Court’s Initial Scheduling Order. (FTX MDL ECF No. 61, p. 4).

        Mr. Singh chose not to waive personal jurisdiction. (FTX MDL ECF No. 90).

Subsequently, Plaintiffs filed a complaint against Mr. Singh in the Eastern District of Michigan

on July 21 2023, Garrison v. Singh, E.D. Michigan, Case No. 23-cv-011764-LJM-KGA (the

“Michigan Action”). Plaintiffs then included the Michigan Action in a Notice of Potential Tag-

Along Actions2. (ECF Nos. 167 and 167-1).

        Plaintiffs, however, have failed to keep their promise to the FTX MDL Court to “resolve”

personal jurisdiction by voluntarily dismissing Mr. Singh from the Paffrath Action. Instead,

attempting to eat their cake and then have it to, Plaintiffs have forced Mr. Singh to remain in the

FTX MDL case via Paffrath Action and join the other Paffrath defendants in motions to dismiss

for failure to state a claim and lack of personal jurisdiction. (FTX MDL ECF Nos. 265 and 266).

Plaintiffs are now using their own failure to keep their agreement to the court against Mr. Singh

to assert “transferring this action to Florida will advance the just and efficient conduct of this

litigation.” (Response, p. 4). This proves nothing of the sort but rather the opposite.



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  It should be noted that “Exhibit A” to the Response is a highly truncated portion of the hearing
transcript.
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  Other defendants in the Paffrath Action (the “Nevada Defendants”) likewise declined to waive personal
jurisdiction (FTX MDL ECF No. 89) and Plaintiffs subsequently filed an action against them in Nevada
District Court. (Garrison v. Stephan, D. Nevada, 2:23-cv-01138). Plaintiffs then included the Nevada
Action in a Notice of Tag-Along Actions (ECF Nos. 166 and 166-1)/
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        Although Plaintiffs lumped Mr. Singh and the other remaining Paffrath Defendants (now

labeled “YouTuber Defendants”) together with the Celebrity Defendants in their Amended

Administrative Complaint (FTX MDL ECF No. 179), the FTX MDL Court nevertheless agreed

to separate Mr. Singh and other YouTuber Defendants out from the Celebrity Defendants and

allow them to file separate motions to dismiss under 12(b)(6) and 12(b)(2). (FTX MDL ECF No.

236). This was based on the facts that 1) lumping so many defendants together presents

significant logistical difficulties, and 2) the Amended Administrative Complaint contains

substantially different factual allegations against the Celebrity Defendants as compared to Mr.

Singh. (See FTX MDL ECF No. 219, p. 4). This directly contradicts Plaintiffs’ Response.

        Plaintiffs have thus completely failed to make any showing that there are sufficient

common issues of fact or that keeping Mr. Singh in the FTX MDL would advance the just and

efficient conduct of this litigation.

                                           CONCLUSION

        WHEREFORE, Defendant Jaspreet Singh respectfully requests that this Honorable

United States Judicial Panel on Multidistrict Litigation vacate the Conditional Transfer Order

dated August 1, 2023 (CTO-2) with respect to Case No. E.D. Michigan, Case No. 23-cv-011764-

LJM-KGA and allow that case to proceed in the Eastern District of Michigan

Dated: September 26, 2023               Respectfully Submitted,

                                        /s/ Michael O. Cumming       s
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